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 4

 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: CR.S. 07-303 GEB
     United States of America,           )
 9                                       ) STIPULATION AND ORDER TO CONTINUE
                 Plaintiff,              ) STATUS CONFERENCE
10                                       )
           vs.                           ) Court: Hon. Judge Garland E.
11                                       ) Burrell, Jr.
                                         ) Time:   9:00 a.m.
12   Rebecca Salsedo,                    ) Date:   January 11, 2013
                                         )
13               Defendant
14

15

16         Defendant Rebecca Salsedo is charged in an indictment alleging
17   four counts of violations of 21 U.S.C. §§s 841(a)(1) & § 846 –
18   Distribution and Conspiracy to Distribute Cocaine; Possession of
19   Cocaine with Intent to Distribute; and Manufacture of Marijuana.        Ms.
20   Salsedo is charged in counts one and three. A status conference was
21   previously set for November 16, 2013.     The parties are involved in
22   defense investigation, as well as negotiations and all parties request
23   that the current status conference be continued to January 11, 2013,
24   and that date is available with the Court.
25         The parties agree that time should be excluded under 18 U.S.C. §
26   3161(h)(8)(i) for defense preparation and under local code T4.
27   ///
28   ///




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     Dated: November 13, 2013
 1                                                      Respectfully submitted,
 2

 3
                                                       __/s/ Shari Rusk___
 4                                                     Shari Rusk
                                                       Attorney for Defendant
 5                                                     Rebecca Salsedo

 6

 7                                                       /s/ Jason Hitt
                                                        Jason Hitt
 8
                                                        Assistant United States Attorney
 9

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11
                                                        ORDER
12

13
                           IT IS SO ORDERED.   The Court finds excludable time through
14
     January 11, 2013, based on Local Code T4, giving counsel reasonable
15
     time to prepare.
16
     Date:                  11/14/2012
17

18                                                    ___________________________________
                                                      GARLAND E. BURRELL, JR.
19                                                    Senior United States District Judge
20

21   DEAC_Signature-END:




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23   61khh4bb
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